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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

ALBERT J. GARRY, SR.,                       §
      Plaintiff,                            §
                                            §
v.                                          §    No. 3:21-cv-00813-B (BT)
                                            §
JOSH YEAGER,                                §
       Defendant.                           §

           FINDINGS, CONCLUSIONS, AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE JUDGE

         Plaintiff Albert J. Garry, Sr. filed a pro se civil action. The Court granted

 Garry leave to proceed in forma pauperis but withheld issuance of process pending

 judicial screening. Ord. (ECF No. 7). For the reasons stated, the Court should

 dismiss, in part, Garry’s amended complaint under 28 U.S.C. §§ 1915A and

 1915(e)(2)(B).

                                     Background

         On April 8, 2021, Garry, a Texas citizen, filed his complaint against his

 former supervisor, Josh Yeager, a citizen of Wisconsin. Compl. 1, 3, 5-6 (ECF No.

 3); see also Am. Compl. 3 (ECF No. 10).1 Garry alleges that, on April 1, 2019, he

 received a written warning from his employer for dishonesty, working

 unauthorized overtime, and spending company funds to purchase a flight, rental



 1The Court liberally construes Garry’s complaint and amended complaint with all
 possible deference due a pro se litigant. See Erickson v. Pardus, 551 U.S. 89, 94
 (2007) (pro se pleadings are “to be liberally construed,” and “a pro se complaint,
 however inartfully pleaded, must be held to less stringent standards than formal
 pleadings drafted by lawyers.”).
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car, and other expenses without permission. Compl. 4. Garry further alleges that

Yeager became his manager on January 1, 2020, but Garry never actually met

Yeager in person. Id. 1. Then, Garry was fired on January 23, 2020. Id.; see also

MJQ 5. Garry alleges that Yeager “intentionally provided false written and verbal

communications to a third party causing harm, loss of unemployment benefits. As

stated in the Texas Labor Code . . . it is a violation for an employer to make a false

report to the commission.” Id. In his complaint, Garry does not state what specific

relief he seeks. However, he states that he is suing for “defamation of charter [sic],

for personal benefits and gains by utilizing company resources.” Id.

      On April 9, 2021, the Court issued an order and notice of deficiency (ECF

No. 8) because Garry’s complaint failed to comply with Federal Rule of Civil

Procedure 8(a). On May 10, 2021, Garry filed an amended complaint again naming

Yeager as the defendant. Am. Compl. 1-3. Garry summarily alleges, “The

Defendant, Josh Yeager, Provided False Information To The [Texas Workforce

Commission] Officer, Causing Loss Of Unemployment Benefits.” Id. 4; see also

MJQ 3-4 (ECF No. 12). Based on this conduct, Garry claims that he is entitled to

“Loss Of Earned Unemployment Benefits, COVID-19 Benefits And Any Relief

Order[ed] By The Court.” Am. Compl. 4. He seeks a total of $83,000.00 in

damages ($40,000 in unemployment benefits and $43,000 in COVID-19

benefits). MJQ 2, 6 (ECF No. 2). On May 11, 2021, the Court sent Garry a

Magistrate Judge’s Questionnaire (ECF No. 11). Then, on May 19, 2021, Garry filed

his response (ECF No. 12), which included eight pages of e-mail attachments.

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                         Legal Standards and Analysis

      Garry’s complaint and amended complaint are subject to preliminary

screening under 28 U.S.C. § 1915A. That section provides in pertinent part:

             The court shall review . . . as soon as practicable after
             docketing, a complaint in a civil action in which a
             prisoner seeks redress from a governmental entity or
             officer or employee of a governmental entity [and] [o]n
             review, the court shall identify cognizable claims or
             dismiss the complaint, or any portion of the complaint, if
             the complaint (1) is frivolous, malicious, or fails to state a
             claim upon which relief may be granted; or (2) seeks
             monetary relief from a defendant who is immune from
             such relief.

28 U.S.C. § 1915A(a)-(b).

      Under 28 U.S.C. § 1915(e), a district court may also summarily dismiss a

complaint filed in forma pauperis if it concludes the action is: (1) frivolous or

malicious; (2) fails to state a claim on which relief may be granted; or (3) seeks

monetary relief against a defendant who is immune from such relief. 28 U.S.C. §

1915(e)(2)(B). To state a claim upon which relief may be granted, a plaintiff must

plead “enough facts to state a claim to relief that is plausible on its face[,]” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007), and must plead those facts

with enough specificity “to raise a right to relief above the speculative level[.]” Id.

at 555. “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).




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      Garry claims that his suit is “for defamation of charter [sic], for personal

benefits and gains by utilizing company reasons.” Compl. 1. In a diversity case,

such as this one, federal courts apply the state statute of limitations, along with any

accompanying rules on tolling. Vaught v. Showa Denko K.K., 107 F.3d 1137, 1145

(5th Cir. 1997). Under Texas law, a defamation claim generally is subject to a one-

year statute of limitations. Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724,

741 (5th Cir. 2019) (citing Tex. Civ. Prac & Rem. Code Ann. §§ 16.002(a),

16.003(a)); Pennie v. Giorgi for Dallas Morning News, 841 F. App’x 655, 656 n.1

(5th Cir. 2021) (citing Walker, 938 F.3d at 741-42); see also Anderson v.

Octapharm Plasma, Inc., 2021 WL 1894689, at *8 (N.D. Tex. May 11, 2021); Tu

Nguyen v. Duy Tu Hoang, 318 F.Supp.3d 983, 1011 (S.D. Tex. 2018). The

limitations period begins to run from the date the cause of action accrues.

Anderson, 2021 WL 1894689, at *8 (citing Tex. Civ. Prac. & Rem. Code Ann. §

16.002(a)). And, generally, a defamation action accrues when the allegedly

defamatory statement is spoken or published. Velocity Databank, Inc. v. Shell

Offshore, Inc., 456 S.W.3d 605, 609 (Tex. App.—Houston [1st Dist.] 2014). “As a

matter of law, the court should dismiss a defamation claim filed more than a year

after the defamatory comments were made.” Hill v. Jacobs Eng’g Grp., Inc., 2011

WL 2565331, at *4 (S.D. Tex. June 27, 2011) (citing Grogan v. Sav. of Am., Inc.,

118 F.Supp.2d 741, 756 (S.D. Tex. 1999)).

      Even liberally construing Garry’s complaint and amended complaint, his

defamation claims are subject to dismissal, at least in part, under the statute of

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limitations. Garry alleges that Yeager submitted a written report to the Texas

Workforce Commission on February 12, 2020, and Yeager made verbal statements

on March 20, 2020 and April 17, 2020. MJQ 16 (ECF No. 12). But Garry did not

file his lawsuit until April 8, 2021. Thus, Garry’s claims based on the February 12,

2020 and March 20, 2020 statements are time-barred and should be dismissed.

See Coleman v. Barrington Mort. Servs., LLC, 2020WL 4723174, at *7 (E.D. Tex.

July 27, 2020) (finding that the alleged defamatory statements were time-barred

because the plaintiff’s lawsuit was filed more than a year after the claim accrued),

report and recommendation adopted, 2020 WL 4698099 (Aug. 13, 2020). But

Garry’s claim based on Yeager’s final statement, allegedly made on April 17, 2020,

is timely. Garry should therefore be allowed to proceed on that claim. The Court

will order the United States Marshals Service to serve summons on Josh Yeager

within thirty days from the date of these findings, conclusions, and

recommendation pursuant to Fed. R. Civ. P. 4(c).

                                   Conclusion

      The Court should dismiss, in part, Garry’s amended complaint under 28

U.S.C. §§ 1915A and 1915(e)(2)(B). Specifically, the Court should dismiss Garry’s

claims based on allegedly defamatory statements made on February 12, 2020 and

March 20, 2020.

      Garry may proceed on his defamation claim based on the allegedly

defamatory statements Yeager made on April 17, 2020, and the United States

Marshals Service shall serve summons on Josh Yeager.

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      SO RECOMMENDED

      Signed June 10, 2021.

                                      ______________________________
                                      REBECCA RUTHERFORD
                                      UNITED STATES MAGISTRATE JUDGE




                  INSTRUCTIONS FOR SERVICE AND
                 NOTICE OF RIGHT TO APPEAL/OBJECT

       A copy of this report and recommendation shall be served on all parties in
the manner provided by law. Any party who objects to any part of this report and
recommendation must file specific written objections within 14 days after being
served with a copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). In order to be
specific, an objection must identify the specific finding or recommendation to
which objection is made, state the basis for the objection, and specify the place in
the magistrate judge's report and recommendation where the disputed
determination is found. An objection that merely incorporates by reference or
refers to the briefing before the magistrate judge is not specific. Failure to file
specific written objections will bar the aggrieved party from appealing the factual
findings and legal conclusions of the magistrate judge that are accepted or adopted
by the district court, except upon grounds of plain error. See Douglass v. United
Services Automobile Ass'n, 79 F.3d 1415, 1417 (5th Cir. 1996).




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